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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:                                                 Bankruptcy No. 21-21941-TPA

JEFFREY M. DOLMAJER and,                               Chapter 13
NICOLE S. DOLMAJER,
                                                       Related to Doc No. 47
              Debtors

THE MONEY SOURCE, INC.,

              Respondent
         v.

JEFFREY M. DOLMAJER,
NICOLE S. DOLMAJER, and
RONDA J. WINNECOUR, Chapter 13
Trustee,
         Respondents

         SETTLEMENT AND CERTIFICATION OF STIPULATED STIPULATED ORDER
          RESOLVING OBJECTION TO NOTICE OF MORTGAGE PAYMENT CHANGE


        The undersigned hereby certifies that agreement has been reached with the respondents regarding an
Order to resolve the Objection to the Notice of Mortgage Payment Change. (State “None” if no prior Motion
of Application).

The signature requirements of ECF Procedure #8 have been followed in obtaining the agreement of all parties
and reflected in the attached document.

The undersigned further certifies that:

    An agreed order and a black-lined version showing the changes made to the order originally filed with the
    court as an attachment to the motion is attached to the Certificate of Counsel Deletions are signified by a
    line in the middle of the original text (strikeout) and additions are signified by text in italics. It is
    respectfully requested that the attached order be entered by the Court.

    No other order has been filed pertaining to the subject matter of this agreement.




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   The attached document does not require a proposed order

Dated: January 11, 2022                       BERNSTEIN AND BURKLEY, P.C.

                                              By: /s/ Keri P. Ebeck
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